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UNITED STATES DISTRICT COURT ,

SOUTHERN DISTRICT OF NEW YORK

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In re Application of DATE FILED: $/19 / 22
SPS I FUNDO DE INVESTIMENTO DE ACOES -
INVESTIMENTO NO EXTERIOR,

Petitioner, 22-mce-0118 (LAK)
for an Order Pursuant to 28 U.S.C. § 1782.
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ORDER

LEWIs A. KAPLAN, District Judge.

On April 26, 2022, this Court granted petitioner’s ex parte application, pursuant to 28
U.S.C. § 1782, to conduct discovery and serve subpoenas on J.P. Morgan Chase Bank, N.A., and
Barclays USA, Inc. (collectively, the “Banks”) in aid of contemplated legal proceedings in Brazil.
Dkt 8. The subpoenas, broadly speaking, seek documents in the possession, custody or control of the
Banks that are or concern transactions and communications with or relating to four foreign companies
(the “Target Companies”) that allegedly are controlled by the Batista family, at least in part through
J&F Investimentos S.A. (‘J&F”) and its subsidiary, JBS S.A., (“JBS”), a large, publicly-held
Brazilian meat supplier in which petitioner is a minority shareholder. The Batista family, petitioner
contends, beneficially own and control the Target Companies and have used them to conduct illicit
activities and defraud JBS and its minority shareholders, including petitioner. It seeks discovery to
adduce evidence to bring to the attention of appropriate Brazilian authorities. The matter now is
before the Court on the motion of Joesley Batista, Wesley Batista, JBS and I&F (the “Movants”) for
an order determining that they are entitled to intervene as of right or, alternatively, for leave to
intervene for the purpose of moving to quash the subpoenas.

In view of Application of Sarrio, S.A., 119 F.3d 143, 148 (2d Cir. 1997), and Jn re
Letter Rogatory from Just. Ct, Dist. of Montreal, 523 F.2d 562, 563-64 (6th Cir. 1975), Movants’
application for permission to intervene for the stated purpose (Dkt 9) is granted.

SO ORDERED.

Dated: May 19, 2022

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Lewis A. Kaplan f °
United States District Midge

